          Case 1:21-cr-00476-APM Document 48 Filed 03/31/23 Page 1 of 3




                           N THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA
                                   (CRIMINAL MATTER)



UNITED STATES OF AMERICA                        )
                                                )
                                                )
                                                )
v.                                              )       Docket No.: 21-00476-APM
                                                )
                                                )
SHANE WOODS                                     )
     Defendant                                  )


              DEFENDANT’S POSITION WITH RESPECT TO SENTENCING

        COMES NOW the Defendant, SHANE WOODS, by and through counsel, Dwight E.

Crawley, and, respectfully requests that this Court impose a sentence within the guidelines as stated

in the pre-sentence report. In support of his position, the defendant offers the following:

I.      The Nature and Circumstances of the Offense

        The Defendant incorporates by reference the facts and circumstances offered by the parties

in the statement of offense section of his plea agreement.

II.     History and Characteristics of the Defendant

        The defendant comes from a fractured home. His parents never married and it appears that

he never had a relationship with his father. In addition to his fractured life as a child, the defendant

admits that he has continued to struggle with poor decision making as an adult. It appears that the

defendant’s lack of judgment has been exacerbated by his drug and alcohol abuse as well as

untreated mental health issues.

III.    The Sentencing Guidelines Range

        The defendant adopts the guidelines range calculated by the probation officer.
          Case 1:21-cr-00476-APM Document 48 Filed 03/31/23 Page 2 of 3




A.      Acceptance of Responsibility

        Although the defendant adopts the guideline range stated in the pre-sentence report, he

understands that the government opposes the 3 level reduction for acceptance of responsibility.

However, by pleading guilty in a timely manner, the defendant did acknowledge his conduct in this

matter and did spare the entire government the expense of trial.

IV.     Other 3553(a) Factors

          The guideline range presented in the pre-sentence report calls for a term of incarceration

of 33-41 months. A sentence within this range promotes respect for the law, punishes the defendant

for his conduct and takes into consideration the defendant’s criminal history.

        As stated above, it is clear that the defendant has struggled with substance abuse and mental

health issues for some time. Most recently, alcohol appears to have contributed to his arrest in

Illinois. Despite his troubled past, it is clear that the defendant is a capable person. For several

years he maintained his own business and was able to support himself and his children. A term of

incarceration within the guidelines promotes respect for the law, punishes the defendant for his

conduct, deters him and others from future criminal conduct and does not promote unwarranted

disparity between those similarly situated.

                                           CONCLUSION

        A sentence within the guidelines serves the ends of justice.

                                                        Respectfully submitted

                                                        SHANE WOODS

                                                              /s/
                                                        ________________________
                                                        Dwight E. Crawley
                                                        DC Bar# 472672
                                                        Counsel for the defendant
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          Case 1:21-cr-00476-APM Document 48 Filed 03/31/23 Page 3 of 3




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 31st day of March, 2022, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

all attorneys of record.


                                                             /s/
                                                       ___________________________
                                                       Dwight E. Crawley




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